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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

     UNITED STATES OF AMERICA,

              Plaintiff,

     v.                                       Case No. 8:05-cr-44-T-24TBM

     STEVEN R. HARDY,

              Defendant.
                                          /

                                                ORDER

              THIS MATTER is before the court upon referral from the District Judge on

     Defendant’s In Camera Emergency Motion for Competency Evaluation (Doc. S-1).

              There being grounds to suspect the Defendant may presently suffer from a mental

     disease or defect rendering him mentally incompetent to proceed, the Defendant’s In Camera

     Emergency Motion for Competency Evaluation (Doc. S-1) is GRANTED. The court

     hereby appoints, Dr. Michael Maher to conduct an independent psychological examination.

     The court requests Dr. Maher complete the examination and file a report with this court

     within eleven (11) days of the date of this Order. Defense counsel, Dionja Dyer, is directed to

     provide Dr. Maher with any pertinent medical or mental health history or other information

     pertinent to his evaluation.

              Upon completion of the examination, Dr. Maher is requested to provide to the court

     a report detailing the Defendant's history and present symptoms; a description of psychiatric

     or psychological medical tests employed in the examination; his findings and opinions as to

     whether or not the Defendant is suffering from a mental disease or defect rendering him

     mentally incompetent to proceed, in that he is unable to understand the nature and

     consequences of the proceedings against him or to assist properly in his defense.
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             Upon receipt of the report, either party may request a further hearing.

             Done and Ordered in Tampa, Florida this 28th day of June 2005.




     Copies furnished to:
     Honorable Susan C. Bucklew
     Chris Tuite, Assistant United States Attorney
     Dionja Dyer, Attorney for Defendant
     Dr. Michael Mayer




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